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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:21-cv-06894-RGK-KS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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 ATTACHMENT # 1
 Jay C Hoag,
 885 Hamilton Ave,
 Palo Alto. CA 94301


 Michaela Hoag,
 885 Hamilton Ave,
 Palo Alto. CA 94301



 Knights Capital 111 LLC., a California Limited Liability Company.
 2475 Hanover Street, STE 100,
 Palo Alto. CA 94306


 Laurie K Lacob
 4 Cedar Lane,
 Woodside. CA 94062



 Bradford S Hennig
 4384 Cesar Chavez ST,
 San Francisco. CA 94131



 Nina Henderson Moore
 15826 W Bayaud Drive,
 Golden, CO 80401




 Netflix Inc. a Delaware Corporation. (authorised to transact business in the State of CA)
 100 Winchester Cir,
 Los Gatos, CA 95032
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 Netflix Streaming Services Inc. a Delaware Corporation. (authorised to transact business in the State
 of CA)
 100 Winchester Cir,
 Los Gatos, CA 95032



 Vertical Entertainment LLC., a California Limited Liability Company.
 Colorado Center, 2500 Broadway Suite, F-125,
 Santa Monica. CA 90404



 Amazon .Com, Inc. a Delaware Corporation (principal place of business Seattle,WA)
 410 Terry Avenue,
 Seattle, WA 98109



 Amazon Digital Services LLC. a Delaware Limited Liability Company (principal place of business
 Seattle,WA)
 410 Terry Avenue,
 Seattle, WA 98109



 Kathy Griffin
 6329 Zumirez Dr,
 Malibu. CA 90265



 Daryl Hannah
 Agent\Representative: Mr W Paul Schuck
 One Embarcadero Center, Suite 800,
 San Francisco. CA 94111


 Brooke C Shields
 Agent\Representative: Mr Alex Weingarten
 2029 Century Park E, STE 400,
 Los Angeles. CA 90067
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 Virginia Madsen
 Agent: Don Buchwald & Associates
 5900 Wilshire BLVD, #3100
 Los Angeles, CA 90036
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   1   Jennifer LM Sendzul
   2   oortcloudfilms@gmail.com
   3   CG 3, Av De La Cortinada, 6., Edifici Claudia 2-3a.,
   4   Ordino. AD300. ANDORRA.
   5   Telephone: (+376) 642300
   6   Plaintiff in Pro Se
   7                           UNITED STATES DISTRICT COURT
   8                           CENTRAL DISTRICT OF CALIFORNIA
   9
  10
  11   JENNIFER LM SENDZUL, independent                   Case No.: 2:21-cv-06894-RGK-KS
  12   screenplay writer,
  13               Plaintiff                              COMPLAINT FOR DAMAGES FOR:
  14                  vs.                                 1. COPYRIGHT INFRINGEMENT
  15   JAY C HOAG, an individual; KNIGHTS                 (SCREENPLAY);
  16   CAPITAL 111 LLC., is a California Limited          2. CONTRIBUTORY COPYRIGHT
  17   Liability Company; MICHAELA HOAG                   INFRINGEMENT;
  18   an individual; LAURIE K LACOB an                   3. VICARIOUS     COPYRIGHT
  19   individual; BRADFORD S HENNIG an                   INFRINGEMENT;
  20   individual; NINA HENDERSON MOORE an                4. DECLARATORY RELIEF.
  21   individual; NETFLIX INC., is a Delaware
  22   corporation; NETFLIX STREAMING
  23   SERVICES INC., is a Delaware Corporation
  24   VERTICAL ENTERTAINMENT LLC., is a
  25   California Limited Liability Company.,
  26   AMAZON .COM INC ., is a Delaware
  27   corporation; AMAZON DIGITAL
  28   SERVICES LLC., is a Delaware Limited
       Liability Company;




                                                     1


                                         COMPLAINT FOR DAMAGES
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   1   KATHY GRIFFIN an individual;
   2   DARYL HANNAH an individual;
   3   BROOKE C SHIELDS an individual;
   5   VIRGINIA MADSEN an individual;
   6            Defendants.
   7   ————————————————————-
   8
   9                                    PREAMBLE
  10
  11        Firstly, I would like to thank the United States District courts for allowing
  12    me to present my case directly to a district court. Up until two months ago I
  13    was unaware that this was an option.
  14        Secondly, I would like to inform the court that multiple attempts -
  15    amicable and conciliatory - were effected to resolve this dispute including
  16    Cross Border WIPO request for mediation [see Exhibit 1] all of which have
  17    been ignored. I set these out in the main body of my argument below.
  18
  19                             PLAINTIFF REQUEST
  20        I, Jennifer LM SENDZUL the plaintiff hereby request a trial by jury and
  21    set out in the following allegations against Defendants JAY C HOAG,
  22    KNIGHTS CAPITAL 111 LLC, MICHAELA M HOAG, LAURIE K LACOB,
  23    BRADFORD S HENNIG, NINA HENDERSON MOORE , NETFLIX INC.,
  24    NETFLIX STREAMING SERVICES INC., VERTICAL ENTERTAINMENT
  25    LLC., AMAZON .COM, INC., AMAZON DIGITAL SERVICES LLC.,
  26    KATHY GRIFFIN, BROOKE SHIELDS, DARYL HANNAH and VIRGINIA
  27    MADSEN and each as follows.
  28




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  1                             NATURE OF ACTION
  2        1. This action is for copyright infringement with intent and malice of the

  3    screenplay What Men Want And What Women Are Prepared To Give arising
  4    from Defendant’s combined exploitation of a “woman's voice” as depicted in
  5    my screenplay. I, Jennifer L M Sendzul am the writer of the original screenplay
  6    duly registered with the Writers Guild Of America West. [Exibit 2]
  7        2. Defendants have blatantly infringed upon the above mentioned
  8    original screenplay through extraction of numerous protectable elements,
  9    including plot, sequence, characters, theme, mood and setting and rearranged
  10   these into a resultant motion picture known as The Hot Flashes.
  11       3. Since 2006 I have constantly graded screenplays, submitting completed
  12   works on the Zoetrope website. Zoetrope is an interactive platform created by
  13   Francis Ford Coppola for aspirant screenplay authors whereby a writer is
  14   granted pro rata access to the community. For successive submissions, a writer
  15   is required to read and review four screenplay's of other artists’ works.
  16       4.   My screenplay What Men Want And What Women Are Prepared To
  17   Give was the second submission from my portfolio submitted in September,
  18   2008. In other words, I critiqued eight full length screenplays and had my
  19   work read and reviewed by numerous other writers on the Zoetrope website.
  20       5. In and around 2009, I submitted my screenplay via Withoutabox’s
  21   online facility to WildSound Film Festival. I received positive feedback
  22   from WildSound that my screenplay had ‘caused a stir’, prompting a re-edit
  23   request. Notably, and shortly afterwards, I was called by a man identified
  24   only as a producer.
  25       6. I was taken aback by this contact since the caller never disclosed who

  26   he was representing and also my correspondence was limited to WildSound.
  27   Furthermore, and of particular relevance, my personal contact details appear
  28   only on my title page which was known exclusively to WildSound and to
        members registered on the Zoetrope platform.




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   1        7.   On reflection, it is apparent that the purpose of this unsolicited call was
   2   to assess if I would be sufficiently astute to detect potential unauthorized
   3   commercialization of my original screenplay read out at the Festival.
   4        8. Notably, when WildSound abruptly ceased communication without
   5    due saturation of the initial attraction and interest, I heard nothing further
   6    again from this producer.
   7        9.   I continued researching and building my film portfolio never
   8   encountering any such security issues with Zoetrope platform. It is no small
   9   coincidence that post WildSound, despite the absence of overt follow-through,
  10    the initial buzz generated at the Festival never went away. I believe
  11    Defendants shared the copyrighted screenplay as early as 2010, initially by

  12    extraction of a public “Pap Smear” sketch by Kathy Griffin for Bravo (TV), an
  13    NBC Universal subsidiary, and then later in 2012 with the production of The
  14   Hot Flashes movie using the remainder of the subject matter, thereby infringing
  15   on my exclusive rights in and to the protected works.
  16       10. In and around 2011/12 browsing online, I came across the “Pap Smear”
  17   sketch. I recognized it to be strikingly similar to my original screenplay. At
  18   this stage I was unaware of the circumstances that emerged only recently.
  19        11. There are substantial similarities between the copyrighted screenplay
  20   What Men Want And What Women Are Prepared To Give and the Kathy
  21    Griffin sketch on the one hand, and the motion picture production the Hot
  22    Flashes on the other hand, in terms of plot, sequence of events, theme,
  23    characters, setting, mood, pace and dialogue.
  24        12. When the Defendants realized they were producing a derivative work

  25    based on my Copyrighted Works, or were at least incorporating protected
  26    elements from my screenplay, they were obligated to obtain a license from
  27     myself, the sole owner of What Men Want And What Women Are Prepared To
  28     Give Copyrighted Works, and to give me credit as the author.




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   1       13. I later gleaned that women’s health issues had become a topical

   2    and lucrative subject for filmmakers and that named Defendants were
   3    positioning to monetize the opportunity which my script represented to them.
   4       14.     My screenplay What Men Want And What Women Are Prepared To
   5    Give is a narration of a woman experiencing the onset of menopause and the
   6    procedures women endure as they age and become susceptible to issues such
   7    as breast and cervical cancer and the early detection thereof.
   8       15.    The premise of my story is that men don't always understand these
   9    transitory changes brought on by menopause and as such the title plays
   10   on the growing chasm between the sexes’ physiological needs and reality.
   11      16.    It was the creative expression of this correlation between menopause
   12   and women at a stage in life, embodied in my screenplay, which when read
   13   out at the Festival, resonated with the Defendants who began circulating my
   14   protected works within their group.
   15      16.     Following the Festival, this script remained integral to my portfolio
   16   being actively promoted on various platforms including on social media.
   17       17.    In and around 2019 various feedback I had received after a read
   18   of my screenplay was that it appeared to be strikingly similar to The
   19   Hot Flashes motion picture directed by Susan Seidelman (February 2012),
   20   prompting an investigation into this assertion.
   21       18.    My initial research was hampered by opacity and layers created
   22   around how the film came into being. This, I later discovered, is typical of
   23   and central to copyright infringement (particularly so when it is with intent).
   24       19.     I was able to reconstruct events by starting at the end point, namely
   25   streaming rights which is empirical, public data key to the economics of a
   26   film’s production. Thereafter, an audit trail of associated documents from public
   27   registers culminating in an organizational chart and timeline of events.
   28       20. With that in place, I was able to isolate and identity each Defendant’s
        direct and contributory role and financial benefit derived from my copyrighted
        works.


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   1       21. Since December 2019, I have made every possible effort to contact the

   2    Defendants, including via the actresses’ social media websites and by writing
   3    directly to the cast members, as well as the alleged author.
   4       22.      I received a response from Netflix. However, it was inaccurate and
   5    patently misleading. The alleged author replied three months after receiving
   6    my correspondence. He provided a falsified copyright certificate then
   7    proceeded to deregister the Hot Flashes LLC. [Exhibit 3]
   8        23.     As a final conciliatory gesture, I invited Defendants to participate
   9    in mediation using the WIPO alternative dispute resolution process. Netflix
   10   declined while the rest of the Defendants did nothing necessitating the filing
   11   of this action to vindicate my rights and to prevent Defendants from
   12   exploiting those rights without just compensation and due creative credit.
   13                                      THE PARTIES
   14        24.    Plaintiff, Jennifer L M Sendzul, (hereafter, “Plaintiff”) an individual
   15   residing in the Principality of Andorra and the author of What Men Want
   16   And What Women Are Prepared To Give copyrighted screenplay. Plaintiff
   17   has a portfolio of three full screenplays and several active projects at various
   18   stages of development. Plaintiff completed the following cinematographic
   19   tertiary level courses; Digital Storytelling - University of Birmingham,
   20   The business of film - The Open University, Antiquities trafficking and Art
   21   crime - University of Glasgow between 2014-2017 as skills development.
   22         25.     Upon information, Defendant JAY C HOAG (hereafter,
   23   “J C Hoag” ) is, and at all times mentioned herein was, an individual residing
   24   in the County of Santa Clara, State of California.
   25         26.    Upon information, Defendant MICHAELA HOAG (hereafter, “M.
   26    Hoag”) is, and at all times mentioned herein was, an individual residing in
   27    the County of Santa Clara, State of California.
   28         27. Upon information, Defendant KNIGHTS CAPITAL 111, LLC.




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   1     (hereafter, “KC”) is and at all times mentioned herein was, a limited
   2     liability company with its principal place of business in the County of Santa
   3     Clara, State of California. Defendant’s Managing Member is J C Hoag.
   4          28. Upon information, Defendant LAURIE K LACOB
   5    (hereafter, “Lacob”) is and at all times mentioned herein was, an
   6     individual residing in County of San Mateo, State of California.
   7          29.    Upon information, Defendant BRADFORD S HENNIG (hereafter,
   8     “Hennig”) is and at all times mentioned herein was, an individual residing in
   9     the County of San Francisco, State of California.
   10         30.    Upon information, Defendant NINA HENDERSON MOORE
   11    hereafter “HENDERSON ”) is and at all times mentioned herein was, an
   12    individual residing in Jefferson County, State of Colorado.
   13         31.    Upon information, Defendant NETFLIX, INC. (hereafter,
   14    “Netflix”) is and at all times mentioned herein was, a corporation
   15    organized by the laws of the State of Delaware and authorized to transact
   16    business in the County of Los Angeles, State of California.
   17          32.    Upon information, Defendant NETFLIX STREAMING
   18    SERVICES INC. (hereafter, “NSSI”) is and at all times mentioned herein
   19    was, a corporation organized by the laws of the State of Delaware and
   20    authorized to transact business in the State of California.
   21         33. Netflix and NSSI are sometimes referred to collectively as the
   22    “Netflix Entities”.
   23         34.    Upon information, Defendant VERTICAL ENTERTAINMENT
   24    LLC (hereafter “Vertical”) is and at all times mentioned herein was, an
   25    entity authorized to transact business in the County of Los Angeles,
   26    State of California. Defendant’s Managing Member is Richard Goldberg.
   27          35.   Upon information, Defendant AMAZON.COM, INC (hereafter
   28   “Amazon”) is a Delaware Corporation with its principal place of business




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   1      Seattle, State of Washington.
   2            36.    Upon information, Defendant AMAZON DIGITAL SERVICES
   3     LLC (hereafter “ADS”) is a Delaware limited liability company with its
   4     principal place of business in Seattle, State of Washington.
   5            37.    Upon information, Defendant ADS owns and operates the Prime
   6     Video website and service, and the Prime Video App.
   7            38.    Amazon and ADS are sometimes referred to collectively as the
   8     “Amazon Entities”.
   9            39.    Upon information, Defendant KATHY GRIFFIN (hereafter
   10    “Griffin”) is and at all times mentioned herein was, an individual residing
   11    in the County of Los Angeles, State of California.
   12           40.    Upon information, Defendant BROOKE C SHIELDS (hereafter
   13    “Shields”) is and at all times mentioned herein was, an individual residing
   14    in the Borough of Manhattan, State of New York.
   15           41.    Upon information, Defendant DARYL HANNAH (hereafter
   16    “Hannah”) is and at all times mentioned herein was, an individual residing
   17    in Los Angeles County, State of California.
   18           42.    Upon information, Defendant VIRGINIA MADSEN (hereafter
   19    “Madsen”) is and at all times mentioned herein was, an individual residing
   20    in Los Angeles County, State of California.
   21            43.    Plaintiff is informed and believes, and thereon alleges that each
   22    of the Defendants herein, were and are in some manner responsible for the
   23    events, happenings, occurrences and instrumentalities upon and about
   24    which Complaint is hereinafter made.
   25.          44.    Plaintiff is further informed and believes, and thereon alleges
   26    that each of the Defendants herein are at all times relevant hereto, were,
   27    the agent, servant, employee, and hireling of each of the Defendants
   28    and in doing the things and acts herein alleged and complained of, or in




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   1     failing to do what they should have done, were acting in the course and
   2     scope of such employment, agency and hiring with the full knowledge,
   3     consent, approval and ratification of each of the Defendants.
   4                              JURISDICTION AND VENUE
   5            45. The jurisdiction of this Court is based upon 28 U.S.C § § 1331
   6     and 1338 in that this controversy arises under the Copyright Act and
   7     Copyright Revision Act of 1976 (17 U.S.C. § 101 et seq.). This court has
   8     has original subject matter jurisdiction under the laws of the United States.
   9            46. This court has personal jurisdiction over Defendants because
   10    some or all of the them reside in this state and because some or all of
   11    Defendants conduct continuous, systematic and routine business within this
   12     and this District.
   13           47.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and
   14    1400 in that Plaintiff’s claims arose in this District and because Defendants

   15    reside or may be found in this District.
   16                                     STANDING
   17          48.    Plaintiff is the owner of the copyrighted works upon which the
   18    the claims in this action are based and as such has standing to bring this
   19    action.
   20                              GENERAL ALLEGATIONS
   21          49.    Plaintiff Jennifer Sendzul is the exclusive owner of all copyright
   22.   rights in and to the original screenplay What Men Want And What Women
   23    Are Prepared To Give, Copyright Registration Certificate is attached as
   24    Exhibit “3”.
   25          50.    This artistic work represents up to a year long progression to the
   26    first draft followed by several revisions.
   27          51.     Plaintiff was inspired to write and develop the screenplay in and
   28    around 2006/7 at the first occurrence of mood changes in menstrual




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   1     cycle irregularities and night sweats which disturbed sleeping patterns
   2     resulting in Plaintiff becoming inexplicably exhausted and irritable.
   3           52.    After visiting her gynecologist, Plaintiff is advised that this is
   4     a result of the early stage of menopause and a lump in her breast is also
   5     discovered during an examination (which included a “pap smear” test).
   6            53.    The story unfolds through the Plaintiff’s interaction with each
   7     medical procedure which she sets about documenting and recounting
   8     from a personal perspective to relay her message in as light-hearted
   9     a way, employing quick-witted dialogue.
   10           54.     Notably, Plaintiff felt that the timing was opportune for release
   11    into the public domain through the medium of a screenplay, a topic
   12    which women worldwide had up to now largely internalized.
   13          55.     Talking publicly and openly about menopause had long been
   14    anathema depriving women of a forum to demystify myth and stigma
   15    associated with what is in fact a normal and integral part of a women's
   16    life, in a non intimidating and humorous way.
   17          56.     One of the procedures which Plaintiff was required to undergo
   18    was a mammogram. Plaintiff recalls her initial misplaced fear and
   19    reluctance mostly due to ignorance.
   20           57.    In the screenplay, the protagonist reveals this same anguish to
   21    friends. One in particular, a breast cancer survivor, urges her to
   22    nevertheless go ahead stating the importance from personal experience.
   23           58. The story goes on to intricately describe the protagonist's
   24    experience during the procedure and the writer recreates this episode in
   25    a user friendly way, tongue-in-cheek to get her message over. The
   26    resultant ambience is one of women of a certain age rallying around
   27    each other in the face of adversity, opening up about their personal lives
   28    meeting up for morning coffee and also a glass or two of wine




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   1     over lunches and dinners.
   2           59.   It is interesting to note how adeptly the theme of life changing
   3     medical situations and how women of diverse backgrounds adapt to it
   4     as portrayed in Plaintiff’s original script - was picked up on by The Hot
   5     Flashes executive producer, Laurie Lacob, in her 2013 interview entitled
   6     Woodside film producer with a cause where she states that out of the blue
   7      in mid 2010, she received a script from an friend in New York which she
    8    proclaims “resonated with us and we jumped on it”. [Exhibit 4]
   9           60.   It is not without coincidence that several months prior
   10    to Lacob’s purported receipt of such script, Plaintiff’s screenplay had already
   11    attracted attention in 2009 at WildSound - a festival headquartered in
   12    Canada with satellite festivals in Los Angeles and New York.
   13          61.   Plaintiff believes and thereon alleges that in and around the time
   14    her screenplay - with menopause as its central theme - was read out
   15    at WildSound, a little known micro winery based in BC, Canada, claimed
   16    that “One late fall evening in 2009, eight of us were sitting around a
   17    friend’s table. A fair bit tipsy and well sated from good food, we started
   18    talking about menopause, the night sweats and the hot flashes”. According
   19    to the House of Rose website “Hot Flash [wine] was born in May 2010”.
   20          62.   The substantial likeness to certain phrases in the dialogue of the
   21    Plaintiff’s screenplay is of no small coincidence. Plaintiff alleges that
   22.   the winery did not independently originate this theme at its own initiative.
   23          63.   Excerpts from Plaintiff ‘s original screenplay that was showcased
   24    on the Zoetrope website in 2008 and WildSound FilmFestival 2009: In one
   25    instance, women at a certain stage in life, united against the odds, celebrating
   26    life, reflect substantial similarities in terms of theme, mood, dialogue
   27    pace and setting to that of House of Rose’s statement.
   28      The two ladies start to giggle and raise their glasses
           to each other. Tom realizes his wife and her friend have
           had quite a bit to drink. Cont…

           After three more bottles of red and two more bottles of
           white wine the foursome are totally drunk and cosy,…

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   1           64.   In addition, Vasomotor syndrome is a menopausal condition
   2     resulting in hot flushes not flashes. In another instance from the original
   3     screenplay:
   4      INT. EVENING/SOFIA IN THE KITCHEN/ MAKING DINNER.
          SOFIA has asked WILLIAM to take out the garbage, when she
   5      turns around she almost trips over the garbage bag. She can
   6      hear him in the house, kicking a ball.
                                 SOFIA
   7                WILLIAM! Stop kicking that damn ball and get
                    your lazy ass over and throw the garbage out.
   8
   9      WILLIAM comes down the stairs the ball bouncing behind him,
          grabs the bag of garbage while showing his frustration. He
   10     turns around as he walks out the door.
   11                           WILLIAM
                    Old, Ummm, old madam hot flashes.
   12
   13     His ball’s laying at SOFIA ́s feet, she gives the ball a
          kick, the ball hits WILLIAM on the bum and helps him out
   14     the door. He turns round with a smile on his face.
                                 SOFIA
   15                  (SOFIA pulls her tongue at him.)
   16                      Not bad for a hot flash.

   17        65.     More telling is the winery’s role as the transmission link of the
   18    script to the Defendants, again later emerging when The Hot Flashes motion
   19    picture lead actress, Brooke Shields, allegedly happens on to this wine,
   20    purchasing two cases of Hot Flash wine for import to New Orleans in
   21    March 2012 as the film is wrapping up. According to an April 2012
   22    article in the Kelowna Daily Courier, “Shields heard of Hot Flash wine
   23    from a friend in New York. So, through her personal assistant, the actress
   24    ordered two cases from House of Rose.” Shields even makes a “fun tribute
   25    video as a thank you…” [Exhibit 5]
   26          66.   It is notable that Shields has previously litigated against
   27    commercialization of her public persona [case no: 1 9ST CV 16029]
   28    Shields vs Beautylish et al, 05/08/2019. Yet in this instance, not only




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   1     does Shields gratuitously endorse a little known Canadian wine but
   2     supposedly pays approx C$415 (excl. taxes and duty) to obtain such product.
   3           67.   Plaintiff is informed and believes, and thereon alleges that
   4     after the screenplay was showcased on Zoetrope website in 2008 and read
   5     out at WildSound FilmFestival 2009, in the first quarter of 2010, Defendant
   6     Kathy Griffin ‘cooks up’ the idea of fortuitously tapping into women’s
   7     health with her ‘Pap Smear’ publicity stunt. This is consistent with the
   8     timing of Defendants carving up and sharing the original screenplay
   9     culminating in the production of the The Hot Flashes Motion picture in
   10    February 2012.
   11         68. It is also worth noting that Griffin extracts only the “Pap Smear”
   12    passage from the screenplay excluding the remainder of the script’s
   13    women's issues. In The Hot Flashes, the producers then draw substantially
   14    on the balance of the screenplay’s women's cancer issues but omits the part
   15    containing the Pap Smear passage.
   16          69.    Excerpts from Plaintiff ’s original screenplay showcased
   17    on the Zoetrope website in 2008 and WildSound FilmFestival 2009:
   18
             INT. CHANGING ROOM.
   19
             SOFIA in the changing booth removes her T-shirt,
   20        it's wet with perspiration. She uses the toilet
   21        again to get rid of the last drop of urine before
             her examination.
   22
   23        ENTERING the examination room she looks around. The
             ASSISTANT is busy making the final preparation for
   24        the bodily intrusion.
             SOFIA looks around the dimly lit room. One hard bed
   25
             with a green sheet, two stirrups, a TV monitor above
   26        her head.

   27        SOFIA slowly gets on the bed, the assistant
   28        indicates she must rest her legs on the stirrups.
             SOFIA tries to push the gown discreetly between her
             legs.

             The DOCTOR pulls her chair closer, holding a long
             white thing resembling a cigar, she proceeds to prod
             SOFIA in all directions, the TV monitor clicks on,
             SOFIA is watching a black and white image.
                                             13

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   1          70.    Plaintiff believes and thereon alleges that in around 2011,
   2      Defendant Nina Henderson Moore is offered a producer role on
   3      The Hot Flashes by Susan Seidelman who would later become its director.
   4      It is worth noting that The Hot Flashes was then a concept only. It is
   5      unclear on whose instructions Seidelman was acting in the absence of a
   6      registered entity being in place or that of financial backing.
   7           71.   Upon Plaintiff’s review, Henderson executes an agreement in April
   8     2011 to act as managing member of the unincorporated Hot Flashes LLC but
   9     only registers the entity in December 2011simultaneous to KC 111’s start date.
   10          72. Significantly, in June 2020 when Plaintiff reaches out to
   11     Henderson after failing to get any response from the alleged writer, Brad
   12     Hennig, Henderson as The Hot Flashes operations manager, does not deal
   13     with Plaintiff’s allegation of copyright infringement but instead passes
   14     on Plaintiff’s email to Defendant Hennig.
   15          73.    Plaintiff believes and thereon alleges that the ensuing response of
   16    Defendant Hennig, an unknown, unaccredited and unrepresented writer,
   17    is a fabricated reenactment of events. In the first place, Hennig asserts that he
   18    “wrote it” before Plaintiff. Of particular interest is Hennig’s claim to have
   19    had prior insight to the contents of Plaintiff’s protected screenplay. Second,
   20    Hennig further claims that Kiki Goshay had optioned his screenplay. However
   21    this notion is strongly denied by Goshay in an email to Plaintiff. In
   22    addition, Hennig provides Plaintiff with a falsified copyright certificate
   23    of The Hot Flashes screenplay. [See Exhibit “3”]. Henderson as co-founding
   24    and operations manager of The Hot Flashes LLC has refused to to verify
   26    any of Hennig’s above assertions contained in his reply to Plaintiff and both
   27    Defendants remain incommunicado to date.
   28          74.    Plaintiff believes and thereon alleges that Defendant J C Hoag




                                              15

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   1      was uniquely positioned among Defendants, having a comprehensive,
   2      integrated skill set and the means to develop Plaintiff’s protected script
   3      from concept to bankability. J C Hoag is co-founder and lead director
   4      of Netflix Inc., with a market capitalization of $235bn and TCV, a
   5      private equity/venture capital firm.
   6           75. Plaintiff believes and thereon alleges that to initiate such $4.775m
   7     motion picture project - based on an unknown, unaccredited and unrepresented
   8     male writer’s debut screenplay on women’s issues with unknown,
   9     unaccredited executive producers - would have required above average
   10    performance guarantees to convince and secure an A-list cast. Also, to
   11    leverage financing of the motion picture by discounting its $1.518m tax
   12    credit, a financial security bond would have been required in advance.
   13    J C Hoag, in his personal capacity and as a Netflix cofounder had the
   14    financial muscle and network to bring The Hot Flashes project to fruition
   15    prior to receipt of first funds into the The Hot Flashes LLC.
   16          76.   Plaintiff believes and thereon alleges that Defendant Knights
   17     Capital 111 LLC., “KC 111” is a special purpose vehicle created on
   18     December 6, 2011, incorporated exclusively for entering into financing,
   19     provision of guarantees and to receive commercial returns with respect to
   20     expenditure associated with The Hot Flashes motion picture.
   21          77.   In accordance with the above, J C Hoag, as its managing member,
   22     duly entered into an interparty agreement for the The Hot Flashes on
   23     6th February 2012 [see Exhibit 6] and on 11th October 2012 [see
   24     Exhibit 5].
   25          78.   Plaintiff believes and thereon alleges that J C Hoag's financial
   26     participation was opportunistic to assist his wife, Defendant Michaela Hoag,
   27     as a precursor to her establishing a private Foundation - thus fast tracking
   28     Hollywood access - rather than being based on venture capital metrics.




                                             16

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   1     This is borne out by the fact that M Hoag’s “Part The Cloud Foundation”
   2     was launched in May 2012, two months after wrapping up shooting of the
   3     film. More pertinent, is M Hoag’s subsequent access and use of the film’s
   4     A-list cast as ambassadors and celebrity draw cards to lobby donors for her
   5     Foundation.
   6           79.   Plaintiff believes and thereon alleges that Defendant Laurie
   7      Lacob was also an unlikely recipient of a screenplay since Lacob had no
   8      cinematographic profile or prior industry experience. Furthermore, Lacob
   9      does not option the screenplay. Plaintiff ‘s belief is that Lacob was in fact
   10     a front and conduit for J C and M Hoag (collectively, “the Hoags”).
   11     The Hoags are Netflix insiders and such project is a Related Party
   12     Transaction as it is competitive to Netflix’s business. At the very least,
   13     J C Hoag would be required under International Accounting Standards
   14     (IAS rule 24) disclosure, to alert and obtain Netflix’s prior permission.
   15          79.   Plaintiff believes and thereon alleges that Defendant Lacob was
   16    well acquainted with the Hoag's both socially and in fund raising circles.
   17     Lacob is a steering committee member on M Hoag’s Part the Cloud
   18     Foundation established in May 2012, two months after the film wrapped up.
   19           80. Plaintiff believes and thereon alleges that Lacob’s statements

   20    reinforce the contention that Defendants knowingly shared and encouraged
   21    infringement of the protected work. In the Mercury news in June 2013:
   22    “…she [Lacob] read the screenplay, connected with its message and decided
   23    this was the one”. She says the story captured women's lives and wrapped
   24    it in a comedy. The theme of Plaintiffs original work is precisely about
   25    women’s lives, coming together, and is wrapped in a mixture of comedy
   26    and dramatic moments known in writing parlance as a ‘Dramedy’.
   27        81. Plaintiff believes and alleges that the motive for this once-off film

   28    project was an efficient and rapid entry for Defendants M Hoag and Lacob
         to springboard their standing in Silicon Valley fund raising circles.




                                               17

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   1        Excerpts from Plaintiff’s original screenplay
   2
           INT. EARLY MORNING/MAIN BEDROOM.
   3       A delicately crafted foot appears from under the
           covers. As the left foot disappears the right foot
   4       curls itself over the white cotton sheet. A hairy
   5       arm appears from under the covers and is placed
           over the restless figure. The restless figure
   6
   7
   8                               SOFIA
                        Leave me alone I'm trying to sleep
   9                                TOM
   10                    Would you like me to rub your back?

   11          No response. He proceeds to rub her back. There
               is more movement under the covers. She complains
   12          again.
   13                            SOFIA
                               I'm tired.
   14                             TOM
   15                     But you've just woken up!
                                 SOFIA
   16                 I’m tired, I'm trying to sleep and
                      you are disturbing me!
   17
   18          SOFIA in her early fifties, a slim brunette,
               flawless complexion, turns and tucks her pillow
   19          under her breast trying to dislodge the hairy arm
   20          off her back. Her husband TOM, handsome fifty
               year old financial advisor and market analyst.
   21          TOM’s love for tennis has kept his body in good
               shape, greying at the temples with wavy dark
   23          hair.
   24
   25         82.     Plaintiff believes and thereon alleges that facial traits of
   26   protagonist Brooke Shields and her Hot Flashes husband Eric Roberts
   27   intricately mirror those of the original script’s parallel characters, Sophia and
   28   Tom, who Plaintiff alleges they are based on, as depicted in the above passage.




                                             18

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   1         83.     Plaintiff believes and thereon alleges that not only did Plaintiff's
   2     screenplay embody all the elements which Defendants were seeking but
   3     that its subject matter would be attractive to an A-list star such as Shields
   4     who is prominent in fund raising circles, and a regular feature at the
   5     Rita Hayworth Alzheimer Foundation.
   6         84. Despite Lacob receiving a debut film producer credit and financial
   7     backing from friends in Silicon Valley she does nothing further again in
   8     filmmaking circles regarding women's issues, opportunities or causes.
   9         85.    Such was the project’s palpable urgency for Defendants Lacob
   10    and M Hoag that they appeared to go out of the way to get their hands on
   11    Plaintiff’s script. Plaintiff alleges that this included mitigation measures such
   12    as disguising the protected works origin, creating secrecy and layering
   13    of the film’s development structure, and then retroactively fabricating
   14    reports on the project’s evolution. These were then disseminated much later
   15    via media in mid 2013 upon The Hot Flashes release date. Furthermore in
   16    almost all of these releases, the Hoags are conspicuous by their absence and
   17    the alleged writer is referenced to in the third person and never interviewed.
   18        86.    Plaintiff believes and thereon alleges that key phrases and words
   19    central to the theme and mood of What Men Want And What Women Are
   20    Prepared To Give are repeated continuously by Defendants namely in
   21    interviews and indeed are contained in The Hot Flashes motion picture.
   22    Excerpts from Plaintiff ’s original screenplay showcased on the Zoetrope
   23    website in 2008 and WildSound FilmFestival 2009:-
   24         87.     In Plaintiff’s original screenplay, protagonist Sophia searches
   25    google for information about breast cancer, menopause and related issues
   26    whereas in The Hot Flashes, Shields obtains this same information through
   27    a subtle variation and is seen leafing through a copy of Menopause
   28    for Dummies.




                                                 19

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             INT. NEXT MORNING/SITTING AT THE COMPUTER.
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              The children Document
                           have left16for
                                        Filed 10/12/21
                                           school,   TOMPage 25 of 51in Page
                                                         upstairs        his ID #:235
             office. SOFIA LOGS onto Google, clicks advanced
             search. Types in breast lumps, her hands are damp with
         1   anxiety, she rubs them on her pants while she waits
   2         for the computer to respond. The responses on the
             screen have the word cancer in the text.
   3
             SOFIA DOUBLE CLICKS suspicious lumps on the computer
   4
             screen.
   5         'Next steps after detecting suspicious lumps in the
             breast, how to tell the difference.'
   6         Her eyes follow the text from left to right, running
   7         her hand over her left breast.

   8         TEXT ON COMPUTER SCREEN.
             'Most women at some stage feel lumps in their breast.
   9
             But the odds are in your favour. Most breast lumps as
   10        many as four out of five are benign.'
             She reads the text out loud.
   11
   12                              SOFIA (O.S.)
                       (Reading from the text on the screen)
   13                  'However, every breast lump should be
                        evaluated by a doctor to be certain
   14
                        that you don’t have cancer. Breast tissue
   15                   also changes as you get older, becoming
                        more fatty less dense over time. If the
   16                   lump is loose and does not seem attached,
   17                   it could be a cyst.'

   18        INT. THE FOLLOWING DAY/HOME/OFFICE.
   19
             SOFIA in front of her laptop scanning the web. TOM at
   20        his computer agonizing about the stock market.
   21                                 TOM
   22                     Well at least the gold price is up.
                          My forecast was that gold would be at
   23                     twelve hundred dollars before year ́s end.
   24
             SOFIA grabs her left breast, rubs it a couple of times
   25        in the same spot.
                                  SOFIA (O.S.)
   26
                         Of course you right again, it would be
   27                    nice if you took your own advice and made
                         some money for yourself.
   28                                   Ouch!




                                            20

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   1
            SOFIA continues to look a the screen.
   2
                                        TOM
   3                        What’s that all about?
   4
            SOFIA looking at her computer screen, talking as if
   5        to herself.
   6
                                   SOFIA (O.S.)
   7                     Don’t know these last few days I feel
                         as if I’m having involuntary acupuncture
   8                     in my left breast. Oh! It comes and goes.
   9

   10                                  TOM
                           Well you’d better have that seen to.
   11

   12
   13
   14       88.      Plaintiffs’s protagonist Sophia is described as continuously
   15    experiencing menopausal side effects, such as daily hot flushes and night
   16    sweats resulting in sleepless nights . The mood in which Shields’s character
   17    displays this same theme in The Hot Flashes bears substantial likeness
   18
            INT.LATER THAT WEEK/MAIN BEDROOM/EARLY MORNING.
   19
   20       SOFIA wakes-up, wet with perspiration. Gets out of
            bed quietly, dries herself with a towel. She does not
   21       want to wake TOM up. She waits for the covers to dry
   22       and gets back into bed. Four hours later awake again,
            she kicks off the covers.
   23
            By MORNING SOFIA is restless and tired from lack of
   24
            sleep she stumbles to the kitchen and starts loading
   26       the dishwasher.
   26       AFTER breakfast SOFIA is in the bedroom getting
   27       dressed, she has the feeling of a very severe
            menstrual pain, she lies down on the bed until the
   28       pain subsides.




                                             21

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   1      INT. TWO WEEKS LATER/YET ANOTHER RESTLESS NIGHT.
   2
          SOFIA wakes, wet with perspiration, in fact it ́s the
   3      second time and it’s early morning. She gets out of
          bed to drink some water and cool herself down,
   4
          everyone else is sound asleep.
   5
          INT. BEDROOM/SEVEN O'CLOCK IN THE MORNING.
   6      The ringing alarm wakes SOFIA, she is exhausted. She
   7      looks over at TOM, not sure if he is asleep or just
          pretending.
   8
                                   SOFIA
   9
                        TOM! TOM! Can you please get up and
   10                   get the children off to school.
   11                               TOM (O.S.)
   12                    Why! What’s the matter with you?

   13                              SOFIA
   14                    I feel very tired.

   15                               TOM (O.S.)
                         Why? You've just woken up.
   16
   17                               SOFIA
                         I’ve been having these awful sweats
   18                    in the early hours of the morning. Now
   19                    I’m having them twice in the night and
                         I'm not getting enough sleep.
   20
                                     TOM
   21
                              (Getting out of bed)
   22                     Well, just have it seen to. As she
                          falls back on the pillows.
   23                              SOFIA (V.O.)
   24                     That's what he always says. “Just
                          have it seen to”. Maybe that makes
   25                     him feel better.
   26
          She falls asleep again. After a short while she wakes
   27     up and checks the time, it’s seven thirty. She gets up
          and looks out of the window yelling from the bedroom.
   28                             SOFIA (CONT’D)
                          WILL! WILL! Are you ready for the




                                        22

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   1      She falls asleep again. After a short while she wakes
   2      up and checks the time, it’s seven thirty. She gets
          up and looks out of the window yelling from the
   3      bedroom.
   4
                              SOFIA (CONT’D)
   5                   WILL! WILL! Are you ready for the
                       bus. She hears footsteps on the stairs.
   6
   7                          WILLIAM (O.S.)
                       Yes! Yes! I’m just about to brush
   8                   my teeth. Why are you still in bed.
   9
          SOFIA flops back on the pillows.
   10
                                SOFIA
   11                  Oh I don’t know, I’m still tired.
   12                  I’m having these hot flushes and they
                       keep me awake at night.
   13
   14                         WILLIAM (O.S.)
                       Why don’t you check it out on
   15                  Google or Dogpile.
   16
                                 SOFIA
   17                  How disgusting, why would anyone
                       want to use something called Dogpile.
   18
   19     INT. OFFICE. MID MORNING
          SOFIA’S back at the computer, calls up Google.
   20
                                 SOFIA
   21
                         (Mumbling to herself.)
   22               ‘Dogpile! Yeak! How disgusting, my life is
                    on the line and I must search through a pile
   24               of poop.'
   24
          COMPUTER SCREEN. Night sweats accompanied by hot
   25     flushes.
   26
   27
   28




                                          23

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   1          89.   Plaintiff believes and thereon alleges that the thematic use of a
   2      ‘grouping of women’ providing moral support and succour to the

   3.    protagonist in her original screenplay was adapted in The Hot Flashes
   4     to mitigate detection of similarities. Whereas in Plaintiff's original works,
   5     the friend survives breast cancer and urges the protagonist to get a
   6     mammogram done, in The Hot Flashes, the friend of the protagonist dies of
   7    breast cancer and Shields as the protagonist, then sets about saving a fictitious
   8     town’s mammography unit. Excerpts from Plaintiff ’s original screenplay:
   9
          Slams the phone down, she's upset which seems to
   10     encourage a hot flush. She shakes her shirt a couple
   11     of times to increase some air flow. The phone rings.

   12                              SOFIA (CONT'D)
                         Oh hi, KATE. OK thanks. How are you
   13
                         doing.
   14
                                    KATE (O.S.)
   15                    Doing fine thanks. Just these hot
   16                    flushes can get a bit much.

   17                               SOFIA
                         Yeah, I can sympathize, I have
   18
                         started those as well. I also have this
   19                    stabbing pain in my breast that feels like
                         acupuncture and sometimes contractions as
   20                    if I’m giving birth, if only there was some
   21                    result after the contractions, I would feel
                         better.
   22
                                    KATE (O.S.)
   23
                         Oh no SOF you don’t want another
   24                    one of those, at your age.
   25                               SOFIA
   26                    That's true. Maybe easier if I just
                         laid an egg.
   27
   28                           KATE (O.S.) (Laughing)
          Just make sure it doesn't hatch. Have you made your
          appointment?




                                                24

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                                     SOFIA
   1                    I tried to make an appointment with
                        the gynaecologist just before you called,
   2
                        it seems I will only be able to get an
                        appointment in two months time.

          KATE interrupts.
                                    KATE (O.S.)
   3                     But SOF surely if you explain to
   4                     the receptionist you have a lump in your
                         breast, she will let you jump the queue.
   5
   6                                 SOFIA
                         In theory yes, obviously she knows
   7                     nothing about menopause let alone
                         jumping a queue. I’ll give my GP a call
   8
                         and ask her to make the appointment for
   9                     me.
   10                                KATE (O.S.)
   11                    Your gyne will probably send you
                         for a mammogram as well.
   12
                                     SOFIA
   13
                         I know KATE. I’m fifty two and have
   14                    never had a mammogram.
   15                                KATE (O.S.)
   16                    I know! But you do know what I’ve
                         just been through. So, don't delay.
   17
   18                                SOFIA
                          I’ve been a little anxious about
   19                     the whole procedure.
   20     INT. AFTER THE EXAMINATION/SITTING IN FRONT OF THE
   21     DOCTORS DESK.

   22                              DOCTOR
   23                  Everything seems in order, however
                       I will give you a letter for a
   24                  mammogram for that lump you can feel on
                       your left breast and the one you didn't
   25
                       feel under your left armpit.
   26                        (Tears off the paper and
                               hands it to Sofia)
   27                  I have called the centre for you to have
   28                  it done tomorrow. As soon as you have the
                       results come back to my consulting rooms,
                       you do not have to make another
                       appointment just give the results to the
                       receptionist.


                                        25

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   1        90.   Further to ubiquitous manipulation of mood and theme used
   2      to avoid correlation to Plaintiff’s protected works - Plaintiff believes and
   3      thereon alleges that the scene wherein the husband of Bella, the
   4      protagonist’s friend, who is having an affair, discovers it and walks out on
   5      him, is strikingly similar to The Hot Flashes version where instead of using
   6      the friend’s husband, the philanderer is initially switched to the protagonist
   7      (Shields) husband (Eric Roberts) with Roberts claiming he walked out
   8      on his mistress. However later in The Hot Flashes it turns out that just as
   9       as in the Plaintiffs original screenplay, Roberts’s mistress evidently does
   10      walk out on him. Excerpts from Plaintiff ’s original screenplay:
   11
           INT. ITALIAN RESTAURANT/EVENING.
   12
           BELLA and SOFIA are tucked away in a corner, BELLA
   13
           seems preoccupied, SOFIA orders the wine, while she
   14      gives her friend ́s hand a little squeeze.
   15                               SOFIA
   16                     What has happened in the last
                          twelve hours, you look terrific. (Sipping
   17                     her wine looking at her friend.)
   18
                                    BELLA
   19                     I think John, well...umm.. has
                          another woman.
   20
   21                                SOFIA
                          Oh shit! And that’s the news. Are
   22                     we mourning or celebrating, pour me
   23                     another glass. Oh shit! Fill it to the
                          top.
   24
                                      BELLA
   25
                          I tried the attack approach, he
   26                     fobbed me off. Told me to get myself a
                          job. The bit that got to me, ....the part
   27                     that really pissed me off, was when he
   28                     said. “There's more to life than just
                          shopping, you know”. I just kept my cool
                          and thought “fuck you mate”.




                                              26

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   1      Shocked by BELLA'S story but not surprised.

   2                              SOFIA
                      Are you're OK about all this, I mean you
   3
                      don’t look as if,.. as if you just had a
   4                  bad day. What’s going on?
   5                               BELLA
   6                  After a long sob in the shower this
                      morning, I took his advice.
   7
   8                                SOFIA
                      And..go on..go on.
   9
                                   BELLA
   10                Well, I took his advice and found a
   11                job. And well! I’m leaving for Spain next
                     month. I phoned my old editor and
   12                “voila”. I’m on for next month to cover
   13                the world cup yacht-race in Valencia,
                     Spain.
   14     Beaming with envy.
   15
                                     SOFIA
   16                  That’s fantastic. Oh! Who will I
                       have coffee with.
   17
   18                                 BELLA
                       Selfish woman, you can have it
   19                  alone until I get back. There is no other
                       friend who is going to sympathize with
   20
                       your sex life.
   21
                                     SOFIA
   22                  Oh! Oh! Maybe you will find some
   23                  Spanish man. Oh la la...senora.

   24                                 BELLA (Subdued)
                       Remember I’m still married for the
   25
                       moment. I've decided I will never let
   26                  myself be humiliated again by a selfish
                       male specimen.
   27                      (Taking another sip of wine.)
   28                  Do you know while I was getting ready,
                       JOHN came home early. What for, I don’t
                       know. Do you know that his phone rang
                       three times, he kept checking the number
                       and switching it off, eventually I told
                       him to answer it! Of course he
                       reluctantly did,




                                        27

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   1
                     (Big sigh resting her elbows on the table.)
   2                  Well! The only thing I could hear him say
   3                  was that he might not be able to make it
                      tonight, what that meant I can't say of
   4                  course. Then I left to have dinner with
   5                  you.

   6                                  SOFIA
                         Are you sure there is someone else?
   7
   8                                  BELLA
                              (Raising her glass.)
   9                     Well, to be honest I'm not going to ask
   10                    the question, and be told I must be
                         approaching menopause. When the selfish
   11                    bastard himself is going through mental
                         pause.
   12
   13                                  SOFIA
                         Good for you BELLA, you do what’s
   14                    best for you. I think you’re very brave. I
   15                    also had a feeling JOHN was acting very
                         strange, but why confront him, men always
   16                    deny everything.
   17
            The ladies are interrupted by a phone ringing, BELLA
   18       realizes it's hers, she answers.
   19                                 BELLA (Surprised.)
   20                     Oh hi! I’m great no..no...not sure when
                          I’ll be back, don’t wait up for me.
   21                         (Looking over at SOFIA she rolls
   22                          her eyes towards the phone.)
                          I might be late. Oh you’re not
   23                     home, oh OK bye.
                               (Switches off the mobile, looking
   24
                                puzzled.)
   25                     Wants to know what time I’ll be back, but
                          he’s not even at home.
   26                           (Raises her glass to her
   27                            friend.)
                          Hope he enjoys his next life.
   28




                                        28

                              COMPLAINT FOR DAMAGES
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   1      with Netflix director’s pivotal involvement in this film project, the rights
   2      would have needed to pass through a third party before finally ending back
   3     with Netflix unless it was the intention of Defendants to create layers between
   4      related parties and to again obscure the trail of origin and ownership.
   5         95.    Plaintiff believes and thereon alleges Defendant Vertical
   6      Entertainment was, as contended in the Netflix response to Plaintiff, a
   7      downstream beneficiary of the protected works by virtue of being a party
   8      within the distribution chain. Plaintiff made numerous efforts to contact VE
   9      however no response was forthcoming.
   10        96.     Same applies to the Amazon entities. Plaintiff requested chain of
   11     title as Amazon is listed as a streaming rights holder since August 2013 to
   12     date, appraising it clearly of the nature of such complaint. However,
   13     Amazon’s customer service center was unable and incapable of dealing
   14      with a copyright issue such as this.
   15        97.    Plaintiff believes and thereon alleges Defendant Kathy Griffin
   16     identified plaintiff's protected works as something that would fit and
   17     add to her repertoire. Griffin is a satirist sourcing high impact material
   18     which is then repackaged into publicity stunts for financial gain where
   19      there is mass appeal.
   20       98.     Seemingly out of the blue, in and around 2010, Griffin turns her
   21     attention to women's health issues producing a once-off sketch. It is
   22      interesting to note that Griffin’s sketch coincided with Defendant Lacob’s
   23      unexpected receipt of the screenplay with women’s health issues as its
   24      theme.
   25       99.     In continuance with the veil of secrecy singularly embraced by
   26      beneficiaries of The Hot Flashes motion picture, Plaintiff’s numerous
   27      efforts to contact actress Darryl Hannah via social media were ignored.
   28      Hannah, a staunch defender against commercialisation of her public
            persona, sued a bicycle maker in the infamous “don’t ride my name” suit.




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   1
   3
   5       Plaintiff contacted Hannah to highlight that she had benefitted financially
   6       from Plaintiffs protected screenplay What Men Want And What Women
   7       Are Prepared To Give which plaintiff alleged was infringed upon.
   8         100.     Plaintiff believes and thereon alleges that as lead actress,
   9       Defendant Brooke Shields was the pivot around which success of The
   10      Hot Flashes motion was oriented. Not only did Shields benefit from her
   11      role in the unauthorized dramatization of Plaintiff’s protected works,
   12      she was also appointed as a celebrity ambassador to M Hoag's high
   13      profile Silicon Valley Foundation, Part The Cloud.
   14        101.     As in the above instance, Defendant Virginia Madsen and
   15     Defendant Shields were two cast members who were financially
   16     enriched by their roles in The Hot Flashes motion picture and sequentially
   17     as celebrity ambassadors at M Hoag's Part The Cloud Foundation. Plain-
   18     tiff reached out to Madsen via her social media webpage but received no
   19     response.
   20       102.    In summary, Plaintiff became alerted by a reader of her original
   21     What Men Want And What Women Are Prepared To Give script that since
   22     they recognized so much of Plaintiff’s script in Seidelman’s production of
   23     The Hot Flashes, it would be counterproductive to promote work which
   24     an ordinary person might perceive to have already been done. Alternatively,
   25     The Hot Flashes contained so much of what belonged to Plaintiff, one
   26.    could conclude it was an appropriation of Plaintiff’s copyrighted works.
   27       103.    As a result of the above, Plaintiff contends that any and all future
   28     value of her protected works has effectively been sterilized by the acts of
          the Defendants in the alleged infringement.




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   1                               FIRST CAUSE OF ACTION
   2                    (COPYRIGHT INFRINGEMENT - SCREENPLAY)
   3                                (As Against Defendants*)
   4         104.     Plaintiff hereby repeats, realleges, and incorporates by this
   5      reference each and every allegation from each and every paragraph before
   6      and after this paragraph, as though said paragraphs were set forth in full
   7      herein.
   8         105.     Plaintiff contends it is the sole owner of a valid copyright of the
   9      Screenplay What Men Want And What Women Are Prepared To Give with
   10     the exclusive right to use the copyrighted material for purposes such as,
   11      exhibiting or performing the work, making and distributing copies of the
   12      work and creating derivative works from the original.
   13        106.     Plaintiff’s original screenplay constitutes copyrightable subject
   14      matter under the Copyright Act, 17 U.S.C. sections 101 et seq.
   15        107.      Plaintiff is entitled to all of the protections and remedies for
   16    What Men Want And What Women Are Prepared To Give accorded to a
   17    copyright owner and at no time did Plaintiff license her screenplay to
   18    Defendants.
   19       108.    Upon information and belief, in direct violation of Plaintiff’s
   20    exclusive rights, Defendants have directly infringed, and unless enjoined by
   21    this Court will continue to infringe upon Plaintiff’s copyright by, inter alia:
   22    preparing unauthorised derivative works and reproducing copyrighted
   23    elements of the Screenplay which have been incorporated into the motion
   24    picture The Hot Flashes and Griffin’s public Pap Smear sketch.
   25       109. As a direct, legal and proximate result of Defendants’ infringement

   26    on Plaintiff’s copyright to her screenplay, Plaintiff has been damaged and
   27    accordingly places a value to her creative voice in an amount of the
   28    maximum statutory damages permitted under willful copyright infringement
         against Defendants* “J C Hoag”, “M Hoag”, “Lacob”, “Hennig” and
         “Griffin”.



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                                       COMPLAINT FOR DAMAGES
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   1                            SECOND COURSE OF ACTION

   2                    (CONTRIBUTORY COPYRIGHT INFRINGEMENT)
   3         110.    Plaintiff hereby repeats, realleges, and incorporates by this
   4      reference each and every allegation from each and every paragraph before
   5      and after this paragraph, as though said paragraphs were set forth in full
   6      herein that Defendants, the Hoag’s, Lacob and Hennig knew or had reason
   7      to know that The Hot Flashes is an unauthorized adapted work based on
   8      Plaintiff’s protected work What Men Want And What Women Are Prepared
   9      To Give that is, at least in part, strikingly similar to the copyright elements
   10     in Plaintiff's copyrighted original screenplay.
   11        111.    On information and belief, Defendants the Hoags, Lacob and
   12    Hennig induced, caused, and materially contributed to the unauthorized
   13    preparation, duplication, distribution and public performance of the
   14    infringing The Hot Flashes motion picture, and are continuing to do so.
   15         112.    On information and belief, Plaintiff contends that in the final
   16    analysis, above named Defendants selected, coordinated and arranged pro-
   17    tectable elements of Plaintiff’s unproduced works based on a woman's inner
   18    expressions and personal experiences depicted in What Men Want And What
   19    Women Are Prepared To Give and wrapped it around a cloned version of an
   20    already produced film called ‘Calendar Girls’ - despite this film being
   21    based on a true story - then passed off resultant work as their own creation.
   22        113.    Applying the same principles set out above, Defendant Griffin
   23    induced, caused, and materially contributed to the unauthorised Pap Smear
   24    sketch/scene from Plaintiff’s original, protected works What Men Want
   25    And What Women Are Prepared To Give in her preparation, duplication,
   26    distribution and public performance for her comedy series, My Life on the
   27    D-List for Bravo(TV) NBCUNIVERSAL and continues to do so without
   28    Plaintiff’s express permission.




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                                       COMPLAINT FOR DAMAGES
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   1          114. In violation of Plaintiff’s exclusive rights, Defendants the Hoags

   2      Lacob, Hennig, and Griffin have contributed to the infringement and unless
   3      enjoined by this Court will continue to contribute to the infringement of the
   4      copyrights in the copyrighted What Men Want And What Women Are
   5      Prepared To Give Copyrighted Work.
   6           115.      As a direct legal and proximate result of Defendants’
   7      contributory infringement on Plaintiff’s copyright in and to the What Men
   8      Want And What Women Are Prepared To Give Copyrighted Work, Plaintiff
   9      has been damaged in the amount as set out below:
   10                           THIRD COURSE OF ACTION
   11               (Vicarious Copyright Infringement against all Defendants.)
   12        116.     Plaintiff hereby repeats, realleges, and incorporates by this
   13     reference each and every allegation from each and every paragraph before
   14     and after this paragraph, as though said paragraphs were set forth in full
   15     herein.
   16        117.      On information and belief, Defendants have the right and ability
   17     to supervise the other Defendants, and in information and belief, did
   18     supervise them in the unlawful preparation, duplication, and distribution of
   19    The Hot Flashes motion picture and separately, the Pap Smear sketch which
   20    Plaintiff alleges Defendant Griffin sourced from her protected works.
   21       118. On information and belief, Defendants enjoy a direct and personal

   22    benefit from the preparation, duplication and distribution of the infringing
   23    The Hot Flashes and Defendant Griffin of the infringing Pap Smear sketch.
   24        119.     In direct violation of Plaintiff's exclusive rights and as a
   25     consequence of the foregoing, Defendants have vicariously infringed the
   26     copyrights of What Men Want And What Women Are Prepared To Give of
   27     Plaintiff's copyrighted works.
   28        120.     As a direct, legal, and proximate result of Defendants contributory
          infringement of Plaintiff's copyrights in and to her protected work,
         Plaintiff has been damaged in the amount as set out below:



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                                          COMPLAINT FOR DAMAGES
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   1                              FOURTH COURSE OF ACTION
   2                        (Declaratory Relief against All Defendants.)
   3          121.   Plaintiff hereby repeats, realleges, and incorporates by this
   4     reference each and every allegation from each and every paragraph and
   5     after this paragraph, as though said paragraphs were set forth in full herein.
   6          122.   To that end, an actual controversy has arisen and now exists
   7     relating to the rights and duties of Plaintiff and defendants under the United
   8     States copyright laws.
   9          123.    Plaintiff contends that it is the sole owner of the screenplay
   10     What Men Want And What Women Are Prepared To Give and that The Hot
   12     Flashes and Pap Smear sketch infringe on Plaintiff's rights in and to the
   14    What Men Want And What Women Are Prepared To Give Copyrighted Works.
   15         124.    Plaintiff further contends that she is entitled to compensation
   16     based on Defendants’ infringement on Plaintiff's rights in and to the
   17     What Men Want And What Women Are Prepared To Give Copyrighted
   18     Works and that JLM Sendzul is entitled to all credits and accreditation for
   19     her original work which was used without her permission and adapted
   20     into Defendants derivate works.
   21         125.    Plaintiff has been damaged in the amount as set out below:
   22
   23                                 JURY DEMAND
   24         Plaintiff JLM Sendzul demands a jury trial of all issues triable to a jury
   25     in this matter.
   26                              PRAYER FOR RELIEF
   27           WHEREFORE Plaintiff prays for the following relief against
   28      Defendants, JAY C HOAG, MICHAELA HOAG and KNIGHTS




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                                      COMPLAINT FOR DAMAGES
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   1     CAPITAL 111 LLC., LAURIE K LACOB, BRADFORD S HENNIG, NINA
   2     HENDERSON MOORE, NETFLIX INC., NETFLIX STREAMING
   3     SERVICES INC., VERTICAL ENTERTAINMENT LLC, AMAZON.COM
   4      INC., AMAZON DIGITAL SERVICES LLC., KATHY GRIFFIN, DARYL
   5      HANNAH, BROOKE C SHIELDS and VIRGINIA MADSEN as follows:
   6          1.    For preliminary and permanent injunction enjoining all
   7     Defendants from inverting the copyright of Plaintiff in any manner.
   8          2.      That the Court grant Plaintiff maximum statutory damages for
   9      willful copyright infringement in the FIRST COURSE OF ACTION
   10     (Copyright Infringement) against Defendants JAY C HOAG, MICHAELA
   11     HOAG, LAURIE K LACOB, BRADFORD S HENNIG in the amount of
   12     USD $150,000 (one hundred and fifty thousand) and separately, KATHY
   13    GRIFFIN in the amount of USD $150,000 (one hundred and fifty thousand)
   14         3.        That the Court grant Plaintiff punitive damages against
   15     Defendants * JAY C HOAG, MICHAELA HOAG, LAURIE K LACOB
   16     BRADFORD S HENNIG and KATHY GRIFFIN who acted in conscious
   17     disregard of Plaintiff’s rights. Defendants’ conduct as alleged herein
   18     constitutes fraud, malice and oppression entitling such damages.
   19          3(a)     Consequently that the Court grant Plaintiff an award for
   20     USD $1.32m (one million three hundred and twenty thousand) as a
   21     result of damages pertaining to the SECOND COURSE OF ACTION
   22     (Contributory Copyright Infringement) for the restitution to Plaintiff of all
   23     monies gains, profits and all advantages financial and sequential
   24     elevation of Defendants* private profile derived from their production,
   25     distribution and exploitation of the infringing motion picture The Hot
   26     Flashes and the public Pap Smear sketch from their copyright infringement
   27     of What Men Want And What Women Are Prepared To Give Copyrighted
   28     Works.
               4.      For a judicial declaration that The Hot Flashes and the public




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                                        COMPLAINT FOR DAMAGES
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   1      Pap Smear sketch (a) infringes in and to What Men Want And What
   2      Women Are What Women Are Prepared To Give Copyrighted Works;
   3      (b) Plaintiff is entitled to compensation based on Defendants’ infringe-
   4      ment of Plaintiff’s rights in and to the What Men Want And What Women
   5      Are Prepared To Give Copyrighted Works; and (c) Jennifer LM Sendzul is
   6      entitled to credits as the writer of the original from which The Hot Flashes
   7      the public Pap Smear sketch was adapted without Plaintiff’s authorization.
   8          5. That the Court grant Plaintiff damages under the THIRD COURSE

   9      OF ACTION (Vicarious Copyright Infringement) against All Defendants -
   10     JAY C HOAG, MICHAELA HOAG, LAURIE K LACOB who to this end
   11     are known to each other, and JAY C HOAG as lead director of
   12     NETFLIX, is well acquainted and has sway within the “NETFLIX
   13     ENTITIES” and all other Defendants named herein, NINA HENDERSON
   14     MOORE, VERTICAL ENTERTAINMENT LLC., AMAZON.COM INC.,
   15     AMAZON SERVICES LLC., DARYL HANNAH, BROOKE C SHIELDS
   16     and VIRGINIA MADSEN have both the right and the ability to supervise
   17     or control the infringing action of the direct infringer, Defendant
   18     BRADFORD S HENNIG, yet have failed to do so and instead have derived
   19     direct financial and personal public benefit from the infringing activity.
   20          6. That the Court grant Plaintiff damages under the THIRD COURSE
   21     OF ACTION (Vicarious Copyright Infringement) against Defendant
   22     KATHY GRIFFIN who as a result of repurchasing rights to her works from
   23     BRAVO (TV) and NBCUNIVERSAL, including those of the infringing
   24     public Pap Smear sketch, is now the sole, direct beneficiary of all and any
   25     financial and personal public benefit from the infringing activity.
   26        5 and 6 (a). Consequently that the Court grant Plaintiff an award for
   27     USD $880 000 (eight hundred and eighty thousand) as a result of damages
   28     pertaining to THIRD COURSE OF ACTION (Vicarious Copyright




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                                        COMPLAINT FOR DAMAGES
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   1      Infringement) for the restitution to Plaintiff of all monies gains profits
   2.     and all advantages financial and sequential betterment of Defendants’
   3      private profile derived from their involvement of Plaintiff's Copyrighted
   4      Works.
   5         In summary: An aggregate pecuniary claim for USD $2,500,000.
   6      1(a) Copyright Infringement.                            USD $ 150,000;
   7      1(b) Copyright Infringement.                             USD $ 150,000;
   8      (2) Contributory Copyright Infringement.                 USD $1,320,000;
   9      (3) Vicarious Copyright Infringement.                     USD $ 880,000.
   10      7. For such other and further relief as the Court deems just and proper.
   11
   12                                                    Plaintiff in Pro Se:

   13         Dated: 16 August, 2021.                    JENNIFER L M SENDZUL
   14
   15
   16                                                    CG 3, Av De La Cortinada 6,
   17                                                    Edifici Claudia 2-3a,
   18                                                    AD 300, Ordino. ANDORRA.
   19                                                    Telephone: (+376) 642300
   20                                                    oortcloudfilms@gmail.com
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                                         COMPLAINT FOR DAMAGES
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   1                                  DEMAND FOR JURY TRIAL
   2             Plaintiff' JENNIFER L M SENDZUL, hereby demands a trial by
   3      jury in this action on all issues so triable.
   4
   5
   6      Dated: 16 August, 2021.                     JENNIFER L M SENDZUL
   7                                                 CG 3, Edifici Claudia 2-3a,
   8                                                 Av De La Cortinada, 6
   9                                                  Ordino, AD300. ANDORRA.
   10                                                 Telephone: (+376) 642300
   11                                                 oortcloudfilms@gmail.com
   12                                                 Plaintiff in Pro Se
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      Exhibit 1. WIPO request.

                                         COMPLAINT FOR DAMAGES
   CONFIDENTIAL
   WIPOM300321(2)

   Jennifer LM Sendzul v Jay C Hoag, Michaela Hoag, Laurie Kraus Lacob, and Netflix

   Dear Parties,

   The WIPO Arbitration and Mediation Center (the “WIPO Center”) acknowledges receipt on
   March 30, 2021 of the below Request for Mediation submitted by email by Jennifer LM
   Sendzul (“Requesting Party”) in accordance with Article 4(a) of the WIPO Mediation Rules
   (the “Rules”). The Rules are available at https://www.wipo.int/amc/en/mediation/rules/.

   The case number assigned to the Request for Mediation is WIPOM300321(2).

   The WIPO Center kindly invites Jay C Hoag, Michaela Hoag, Laurie Kraus Lacob, and
   Netflix to indicate if they wish to continue with the present WIPO Mediation procedure.
   The WIPO Center will then help the parties to select and appoint a mediator, in
   accordance with Article 7 of the Rules.


   CONFIDENTIAL
   WIPOM300321(1)

   Jennifer LM Sendzul v BRAVO TV, Kathy Griffin, Andy Cohen, and NBCUniversal
   Dear Parties,

   The WIPO Arbitration and Mediation Center (the “WIPO Center”) acknowledges receipt on
   March 30, 2021 of the below Request for Mediation submitted by email by Jennifer LM
   Sendzul (“Requesting Party”) in accordance with Article 4(a) of the WIPO Mediation Rules
   (the “Rules”). The Rules are available at https://www.wipo.int/amc/en/mediation/rules/.

   The case number assigned to the Request for Mediation is WIPOM300321(1).

   The WIPO Center kindly invites BRAVO TV, Kathy Griffin, Andy Cohen, and
   NBCUniversal to indicate if they wish to continue with the present WIPO Mediation
   procedure. The WIPO Center will then help the parties to select and appoint a mediator, in
   accordance with Article 7 of the Rules.
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